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                                     UNITED STATES DISTRICT COURT

                                               DISTRICT OF NEVADA




 Greg Jacobi,


                        Plaintiff-Appellant,                        District No.       2:12-cv-02075-JAD-GWF
vs.

                                                                    U.S.C.A. No.       16-15695
 Charles W. Ergen, et al.,


                        Defendants-Appellees.


                                                ORDER ON MANDATE

         The above-entitled cause having been before the United States Court of Appeals for the Ninth Circuit,

and the Court of Appeals having on 10/10/2017 , issued its mandate that the appeal(s) is/are DISMISSED.

The Court being fully advised in the premises, NOW, THEREFORE, IT IS ORDERED that the mandate be spread

upon the records of this Court.


Dated:
Dated thisOctober 17, of______________________,
           _______day 2017.                     2017.




                                                        Jennifer A. Dorsey
                                                        United States District Judge
